Case 2:OO-cV-02923-SHl\/|-egb Document 229 Filed 05/16/05 Page 1 of 4 PagelD 394

lN THE UN|TED STATES DISTRICT COURT
FOR THE WESTERN DlSTRICT OF TENNESSEE
WESTERN DlVlSiON

EQUAL ENIPLOYMENT OPPORTUNlTY
COMM|SS|ON,

and
CONSTANCE AMOS,

P|aintiffs,
v.

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)
§
AuTozoNE, lNc. )
)

Defendant.

ClVlL ACTION NO.
2:00-cv-2923 MaylA

 

 

ORDER GRANT|NG JO|NT MOTION TO TAKE DEPOSIT|ONS OUT OF T|ME

 

Upon consideration of the Parties’ Joint Motion, and for good cause shown, the

motion to take the following depositions outside the current discovery deadline is

GRANTED. The depositions of Dr. N. Gera|dine House and N|r. Matt Henson will be

allowed as scheduled in June 2005.

iT is so oRoEREo this ' 3 H\day of May, 2005.

SAMUEL H MAYS, JR.
United States District Judge

 

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STATES DISRTICT oURT - WER 1

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 229 in
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EsSEE

 

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Honorable Samuel Mays
US DISTRICT COURT

